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                                   8                                UNITED STATES DISTRICT COURT
                                   9                           NORTHERN DISTRICT OF CALIFORNIA
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                                         JUAN MALDONADO
                                  11                                                      Case No. 21-cv-07780 BLF (PR)
                                                       Plaintiff,
                                  12                                                      ORDER GRANTING MOTION FOR
Northern District of California




                                                v.                                        SECOND AND FINAL EXTENSION
 United States District Court




                                  13                                                      OF TIME TO FILE OPPOSITION
                                  14     DR. JONATHAN ASHBY,
                                  15                  Defendant.
                                                                                          (Docket No. 22)
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                                  18          Plaintiff, a state prisoner, filed the instant pro se civil rights action pursuant to 42
                                  19   U.S.C. § 1983 against Dr. Jonathan Ashby at Correctional Training Facility-Soledad where
                                  20   he is currently incarcerated. The Court found the complaint stated cognizable claims and
                                  21   ordered the matter served on the Defendant. Dkt. No. 9. Defendant filed a motion for
                                  22   summary judgment on October 31, 2022. Dkt. No. 18.
                                  23          On November 29, 2022, the Court granted Plaintiff’s motion for a ninety-day
                                  24   extension of time to file his opposition such that his opposition was due on February 23,
                                  25   2023. Dkt. No. 21. On February 28, 2023, Plaintiff filed a motion for a second and final
                                  26   extension of time to file his opposition due to facility lockdowns and need for assistance
                                  27   from another inmate. Dkt. No. 22.
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                                            Case 5:21-cv-07780-BLF Document 24 Filed 03/02/23 Page 2 of 2




                                   1             Good cause appearing, Plaintiff’s motion is GRANTED. Plaintiff’s opposition
                                   2   shall be filed no later than March 27, 2023. This will be a final extension, as indicated
                                   3   by Plaintiff. Id.
                                   4             Defendant’s reply shall be filed no later than fourteen (14) days after Plaintiff’s
                                   5   opposition is filed.
                                   6             This order terminates Docket No. 22.
                                   7             IT IS SO ORDERED.
                                   8   Dated: __March 2, 2023________                          ________________________
                                                                                               BETH LABSON FREEMAN
                                   9
                                                                                               United States District Judge
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Northern District of California
 United States District Court




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                                       Order Granting Mot. for Ext. of Time to File Opp.
                                  25   PRO-SE\BLF\CR.21\07780Maldonado_2ndeot-opp

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